     Case 3:24-cr-00047-BAJ-EWD         Document 53      05/28/25   Page 1 of 1




                      UNITED STATES DISTRICT COURT

                      MIDDLE DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                      CRIMINAL ACTION

VERSUS

BLAKE JOSEPH STEINER                                      NO. 24-00047-BAJ-EWD

                                      ORDER

      Considering Defendant’s Motion For Leave Of Court To File Attachment

To Sentencing Memorandum Conventionally (Doc. 50),

      IT IS ORDERED that the Motion is GRANTED. Defendant shall

conventionally file the video referenced with the Clerk of Court.



                                     n Rouge, Louisiana, this
                                 Baton                     is 28th day of
                                                           is          o May, 2025


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                                        JUDGE BRIAN A   A.. JACKSON
                                                            JACKSON
                                        UNITED STATES    S DISTRICT COURT
                                                                      C
                                        MIDDLE DISTRICT OF LOUISIANA
